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                                                               November 28, 2018

    By ECF

    The Honorable Paul S. Diamond
    United States District Judge
    Eastern District of Pennsylvania
    Philadelphia, PA 19106

                     Re:   Stein v. Cortes, No. 2:16-CV-6287-PD

    Your Honor:

                    We represent Plaintiffs in this matter. We are pleased to report that the parties
    have settled this case (see Settlement Agreement, attached as Ex. A).

                   Pursuant to paragraph 13 of the Settlement Agreement, the parties will shortly
    submit a proposed Stipulation and Order dismissing the case but retaining jurisdiction to enforce
    the terms of the Settlement Agreement.


                                                               Respectfully,

                                                               /s/

                                                               Ilann M. Maazel

    c.      All counsel of record (by ECF)
